Case 9:22-mj-08332-BER Document 84 Entered on FLSD Docket 08/22/2022 Page 1 of 2




                              UNITED STATES DISTRICT COURT
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                               W EST PM M BEACJIDIVISION
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    UNITED STATES OF AW RICA,
                                                                  FILED BY c.gl&             D .C .
          Plaintiff,
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    ofAppealsfortheEleventh Circuit,the following;

          OrderOvelrulingObjectionstoMagistrateJudgeOrderonlntervention(DocketEntry
          78)
       2. AppealwithoutanOrderonM otionforM agistrateJudgeRelnhartRecusal(DocketEntry
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                                      3. CertiscateofService
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